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177 Milk Street, Suite 300 Boston Massachusetts 07 1119 §
617-338-1976
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maf@fezlaw.com §§;Q zimij :__;:W ,,q :H" 1 jmc@fczlaw wm
CATHERINE M. CAMPBELL " ' "‘ "' """im NM;§SL) maine dinconnemicm

and Wlsconsin
cmc@fczlaw.com

A.lso admitted in Caiifomia
ARTHUR G. ZACK
agz@fezlaw.com

June 19, 2006

Elizabeth Smith, Courtroom Clerk for
Tl1e Honorable Judge Young

United States District Court

One Courthouse Way, Suite 5710

Boston, MA 02210

Re: Charles Langone, Fund Manager v I-Ieating Oil Parmers, LP
C. A. No.: 05-11668 WGY

Dear Ms. Smith:

This letter is to confirm my telephone message to you. The defendant in the above
referenced action has filed a bankruptcy petition under Chapter ll, C.A. 05-51271 in the United
States Ba.nlquptcy Court of Connecticut.

Consequently, this matter should be dismissed Do not hesitate to call if you have any

further questionsl
Vel'y truly yours,
w k 1 l ;»>/M 9
Catherine M. Campbell

CMC:nd

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